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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

GRACIE WHITE                                      §
f/k/a GRACIE DORNEUS                              §
Individually and on behalf of persons             §
similarly situated                                §
                                                  §
Plaintiffs,                                       §
                                                  §
                                                      CIVIL ACTION NO. 3:18-CV-30143-MGM
v.                                                §
                                                  §
ALLY FINANCIAL INC.,                              §
                                                  §
Defendant.                                        §
                                                  §
                                                  §


     STIPULATION AND PROPOSED ORDER REGARDING REMOTE DEPOSITIONS

        WHEREAS, on November 13, 2020, the Court entered an Order setting the case schedule

(the “Scheduling Order”);

        WHEREAS, the Scheduling Order includes specific deadlines for the completion of fact

discovery;

        WHEREAS, the threat of COVID-19 has caused widespread stay-at-home orders and

business restrictions across the United States;

        WHEREAS, the parties seek to mitigate the impacts of COVID-19 and seek to continue to

effectively and efficiently litigate this case;

        WHEREAS, the parties are in agreement with this proposal;

        THE PARTIES THUS STIPULATE to the following:

          1.     The parties agree to proceed with any depositions remotely, by video conference.

                 The parties stipulate that the court reporter, questioning attorney, and defending

                 attorney will not be present with the deponent.

          2.     The parties agree to arrange these depositions through either Esquire Deposition




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     Solutions or Ecoscribe Solutions, at the election of the questioning party.

3.   The depositions shall include a video feed of the deponent, which upon request by the

     noticing party will be recorded. Such videotaped testimony can be used at trial,

     subject to any other rules, as if it was recorded by a certified videographer.

4.   The parties stipulate that the court reporter may administer the oath remotely. The

     defending attorney is required to confirm the identity of the deponent on the record.

5.   At the commencement of the deposition, the deponent shall identify on the record all

     persons in the same room as the deponent.

6.   The parties agree that only individuals who would be permitted to attend the

     deposition if taken in person may attend the deposition remotely.

7.   The deponent and his/her counsel may communicate during the course of the

     deposition to the same extent that they would be permitted to communicate during an

     in-person deposition.

8.   All objections are preserved for trial, although an attorney may still object. If an

     objection to a question is interposed after the deponent has begun to answer or has

     answered the question, the parties agree that the objection is not waived.

9.   The parties may handle exhibits for these remote depositions in any of three ways:

         a. First, any party asking questions may send the deposition exhibits (preferably

             electronically in .pdf format) to all of the other parties, the court reporter, and

             the deponent prior to the start of the deposition. The witness and receiving

             party agree not to review any exhibits prior to the witness being asked

             questions and agree to destroy any unused exhibits after the deposition. The

             parties stipulate that the digital exhibit will become the official copy of

             record.

         b. Second, the asking party may send the exhibits directly to the deponent in a

             sealed box, with the requirement it must be unsealed only while on the record

             and on video during the deposition. The asking party may also include sealed


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                     envelopes in the box to be opened upon request during the deposition in the

                     same manner. The box will include a return label and/or the noticing party

                     will arrange for a courier to pick up the exhibits from the deponent’s home

                     (or deposition location) for delivery to the court reporter. The exhibits can be

                     provided to the other parties electronically prior to the deposition or similarly

                     in a sealed box and/or with sealed envelopes. If provided electronically, the

                     receiving party agrees not to review any exhibits prior to the witness being

                     asked questions and agrees to destroy any unused exhibits after the

                     deposition.

                 c. Third, the parties may arrange for the use of a deposition exhibit platform,

                     which allows users to upload the exhibits prior to the deposition or screen-

                     share them (and to otherwise share them so that the defending attorney has a

                     copy) and then be displayed to all other parties, the witness, and the court

                     reporter during the deposition.

       10.   The parties agree to work in good faith to set up and test technology in advance of

             remote depositions, as needed.

       11.   In the event a dispute is to be brought to the Court’s attention during a remote

             deposition, the parties agree to join on a conference line to contact the Court.



IT IS SO STIPULATED.

/s/ Elizabeth Ryan                               /s/ Nellie E. Hestin
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IT IS SO ORDERED.


MARK G. MASTROIANNI
United States District Judge




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                                CERTIFICATE OF SERVICE

       I hereby certify that that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

on December 15, 2020.




                                                     /s/ Nellie E. Hestin
                                                     Nellie E. Hestin
